
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit. See Local Rule 36(c).
PER CURIAM:
Silver Clipper, Inc., and Ron Morgan, the sole shareholder of Silver Clipper, appeal from the district court’s order affirming the bankruptcy court’s order approving the settlement of the claims of Kirk Carter and Reginald Fitzgerald against Silver Clipper. We have reviewed the record, the parties’ briefs, and the lower courts’ opinions and find no reversible error. See Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424-25, 88 S.Ct. 1157, 20 L.Ed.2d 1 (1968). Accordingly, we affirm for the reasons stated by the district court. See Silver Clipper, Inc. v. Liebmann, Nos. CA-03-1730-AMD; CA-03-1729-AMD; BK-01-5-9209-SD (D.Md. Aug. 22, 2003). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED

